            Case 2:18-cv-00318-JCM-DJA Document 4 Filed 02/26/18 Page 1 of 22



1    COMP
     SIGAL CHATTAH, ESQ.
2    NV Bar No.: 8264
     CHATTAH LAW GROUP
3    5875 S. Rainbow Blvd. #204
     Las Vegas, N evada 89101
4    (702) 360-6200
     (702) 643-6292
5    Chattahlaw@gmail.com
     Attorney for Plaintiff
6                             UNITED STATES DISTRICT COURT
7
                                        DISTRICT OF NEVADA
8

9
   FURNITURE ROYAL, INC., a Nevada              )
10 Corporation,                                 ) CASE NO.:
                                                ) DEPT.:
11              Plaintiff,                      )
         vs.                                    ) COMPLAINT
12                                              )
     SCHNADIG INTERNATIONAL CORP. d/b/a )
13   CARACOLE , a North Carolina Corporation, )
     WAYFAIR, INC. a Delaware Corporation d/b/a )
14
     WAYFAIR and PERIGOLD,                      )
15
                                                )
                Defendants.                     )
16                                              )

17
            COMES NOW, Plaintiff, FURNITURE ROYAL, INC., by and thorugh its attorney of
18
     record, SIGAL CHATTAH, ESQ. of CHATTAH LAW GROUP, who hereby submits the
19
     foregoing Complaint and complains of Defendants and each of them and alleges as follows:
20
                                                      I.
21
                                       JURISDICTION & VENUE
22
            1.      This Court has jurisdiction over the subject matter of this action pursuant to 28
23
     U.S.C. § 1331 ,and 15 USC § 1, 2, under the Sherman act, and the Clayton Act, Sections , 5, and
24

25
     16, as amended; 15 U.S.C.A. § 13 (Robinson -Patman Antidiscrimination Act of 1936) and in

     addition the Court has jurisdiction over the Parties based on diversity of citizenship.


                                                     -1-
            Case 2:18-cv-00318-JCM-DJA Document 4 Filed 02/26/18 Page 2 of 22



1           2.      This action is not based upon the public disclosure of allegations or transactions
2    in a criminal, civil, or administrative hearing, in a congressional, administrative, or General
3
     Accounting Office report, hearing, audit, or investigation, or from the news media.
4
            3.      Venue is proper in this District under 28 U.S.C. §1391 because a substantial part
5
     of the events or omissions giving rise to the claims occurred, or a substantial part of property that
6
     is the subject of the action is situated in the State of Nevada. In addition, for purposes of venue,
7
     Defendants are corporations and, as such, are deemed to reside in this judicial district because
8
     they are subject to personal jurisdiction in the State of Nevada.
9

10          4.      The true names and capacities, whether individual, corporate, associate, or

11   otherwise, of Defendants, are unknown to Plaintiff. Plaintiff is informed and believes and

12   thereon alleges that each of the Defendants is responsible in some manner for the events and

13   happenings herein referred to and damages caused proximately thereby to Plaintiff as herein

14   alleged. That Plaintiff will ask leave of this Court to amend this Complaint to insert the true

15   names and capacities of said Defendants, when same have been ascertained by Plaintiff, together

16
     with appropriate charging allegations, and to join such Defendants in this action.

17
                                                      II.

18                                               PARTIES

19
            5.      Plaintiff, FURNITURE ROYAL, INC., is a Nevada Corporation , is a business
20
     operating in the State of Nevada, County of Clark.
21
            6.      Defendant, SCHNADIG INTERNATIONAL CORP. d/b/a CARACOLE
22
     (hereinafter CARACOLE) at all times relevant herein was a North Carolina Corporation, doing
23
     business in Nevada. SCHNADIG INTERNATIONAL CORP. is a United States Corporation
24
     wholly owned by MARKOR FURNITURE INTERNATIONAL CORPORATION, a Chinese
25
     Corporation listed on the Shanghai Stock Exchange.



                                                     -2-
            Case 2:18-cv-00318-JCM-DJA Document 4 Filed 02/26/18 Page 3 of 22



1            7.      Defendant WAYFAIR, INC. at all times relevant herein is a Delaware
2    Corporation, doing business in Nevada and operating two advertising platforms; to wit:
3    WAYFAIR.COM and PERIGOLD.COM.
4                                                        III.
5                                  NATURE OF TRADE AND COMMERCE
6            8.      There are four phases of the supply chain: commodities, manufacturing,
7    distribution, and retail.
8            9.      Plaintiff F URNITURE RO YAL, at all times relevant herein w as and is a
9    furniture boutique selling high end furniture products. FURNITURE RO YA L sells
10   furniture manufactured by Defendant CARACOLE, in the Las Vegas area.
11           10.     Defendants CARACOLE are the manufacturers of h igh style furniture
12   line, offering “Couture” furniture allow ing the consumer to custom order pieces
13   according to taste and preference. The furn iture industry is nationwide in scope and
14   invo lves, the manufacture and marketing of such products across the United States of
15   America. The relevant geographic market for furn iture products is nationw ide in scope.
16           11.     CARACOLE, as manufacturer sells directly to retailers, such as
17   FURNITUR E RO YAL for d istribution and retail of Caracole products across the Un ited
18   States of America.
19           12.     CARACOLE also utilizes advertisin g platforms such as e-commerce to
20   sell and distribute to consumers directly; specifically, CARACOLE p laces furn iture on
21   website such as PERIGOLD .COM (hereinafter “PERIGOLD”) and WAYFAIR.COM
22   (hereinafter “WAYFA IR”) an e-commerce advertis ing s ite.
23           13.     PERIGOLD is an ecommerce advertis ing s ite that utilizes web based sales
24   on various high end furniture lines such as CARACOLE.
25




                                                   -3-
            Case 2:18-cv-00318-JCM-DJA Document 4 Filed 02/26/18 Page 4 of 22



1           14.     PERIGOLD and WA YFAIR utilize their websites as p latforms to
2    advertise and display the furniture so ld directly by the manufacturer and purchased by
3    the consumer. When co nsumers view Caracole products and furniture on the adverts ing
4    platforms WAYFA IR and PERIGOLD , the furn iture is priced at up to 40% d iscount
5    below what Caraco le M anufacturers Suggested Retail Price (“MSRP”). Both advertis ing
6    platforms PERIGOLD and WAYFA IR spend millions of dollars annually to advertise
7    these Caracole products, provid ing a platform for Defendant Caracole to compete w ith
8    retailers such as F URNITURE RO YAL.
9            15.    PERIGOLD and WA YFAIR markets and sell Caraco le products online for
10   the reduced discount set up by Defendant CARACOLE, directly competing w ith
11   retailers and dealers.
12          16. PERIG OLD, WAYFA IR and CARACOLE, by and through selling Caraco le
13   products, make resale price maintenance (RPM) protections obsolete and small business
14   owners such as Plaintiffs herein are undercut and competition is reduced by allowin g
15   consumers to simply purchase CARACOLE’s product online w ith PERIGOLD and
16   WAYFAIR acting as the marketing and advertis ing platform for CARACOLE.
17          17.     During the time period covered by this Complaint, Defendant has sold and
18   shipped substantial quantit ies of Caracole furniture in a continuous and uninterrupted flow of
19   interstate commerce to its customers located in other states.
20          18.     Defendants established and have operated facilities located in Greensboro, North
21   Carolina, and have sold and shipped their furniture in various states of the United States. These
22   furniture orders were shipped directly to the consumer by Defendant CARACOLE, following
23   display on PERIGOLD and WAYFAIR in a continuous and uninterrupted flow of interstate
24   commerce.
25




                                                    -4-
            Case 2:18-cv-00318-JCM-DJA Document 4 Filed 02/26/18 Page 5 of 22



1              19.   Any restraint upon free competition in the manufacture, marketing or sale of
2    furniture by CARACOLE in the United States necessarily and directly restrains and affects
3    interstate commerce in and among the states. Plaintiff is engaged in the business of purchasing
4    and selling CARACOLE furniture products in the State of Nevada, in competition with
5    CARACOLE.
6    A.        COURSE OF DEALINGS
7              20.   Plaintiff has been purchasing from CARACOLE since March, 2010. During or
8    about 2016, CARACOLE commenced advertising with WAYFAIR.COM. In September 2017,
9    WAYFAIR.COM launched the subsidiary website PERIGOLD.COM as a high end platform to
10   sell CARACOLE products directly to the public.
11             21.   Defendants CARACOLE breached its express and implied agreements with
12   Plaintiff’s business by offering to and agreeing with PERIGOLD and WAYFAIR to sell
13   CARACOLE furniture directly to the consumer. PERIGOLD and WAYFAIR offered their e-
14   commerce websites to CARACOLE so that CARACOLE can sell d irectly to consumers,
15   bypassing and cutting out dealers and retailers across the United States.
16             22.   CARACOLE offered to sell and continues to offer to sell furniture to consumers
17   at prices below retailer pricing on the PERIGOLD and WAYFAIR platform (“favo red
18   customers”), including FURNITURE ROYAL, and below the price at which FURNITURE
19   ROYAL can sell to the consumer. FURNITURE ROYAL is and remains to be excluded from the
20   market.
21             23.   FURNITURE ROYAL’s customers have used the Furniture Royal store as an
22   “Exh ibit Room” solely to see the product in person and then purchase directly from
23   CARACOLE on websites such as PERIGOLD and WAYFAIR, whereby orders are directly
24   shipped from CARACOLE to the customers location and delivery address.
25




                                                    -5-
            Case 2:18-cv-00318-JCM-DJA Document 4 Filed 02/26/18 Page 6 of 22



1    B.     ANTITRUST OFFENSE CHARGED
2           24.     During the period commencing 2016 and continuing up to and including the
3    present time Defendant CARACOLE, has sold directly to consumers, using WAYFAIR and
4    PERIGOLD as advertising platforms through ecommerce at a significantly reduced price,
5    unlawfully fixing the price of their goods and unfairly competing with retailers across the
6    Nation. These customers have been treated as “favored customers” by purchasing directly from
7    the manufacturer Caracole.
8           25.     Defendants engaged in the conduct alleged abo ve with the specific intent to
9    compete with retailers, such as Plaintiff and sell Caracole furniture products at a reduced price.
10          26.     Defendant CARACOLE has uinlawfully and willfully abused, exercised and
11   misused the power in violation of Section 2(a) of the Robinson Patman Act, 15 U.S.C.A. § 13, as
12   amended.
13          27.     Defendant CARACOLE’s abuse, exercise and misuse of the PERIGOLD and
14   WAYFAIR ecommerce website to compete with retailers in sells and manufactures for, have had
15   the following unlawful purposes and objectives, inter alia:
16          (a)     To attempt to exclude competition in the relevant markets constisting of Nevada
17   and other states of the United States;
18          (b) to foreclose, restrain and exclude competition, including price competition, among
19   sellers of Caracole furniture.
20          (c) to foreclose and exclude Plaintiff as a price competitor;
21          (d) to foreclose, restrain and exclude competition, including price competition, among
22   manufacturers and dealers of Caracole furniture;
23          (e)     to impose territorial, geographic and product restrictions and limitations on
24   Plaintiff and other sellers of Caracole furniture and to foreclose, restrain and exclude competition
25   between them; and




                                                     -6-
             Case 2:18-cv-00318-JCM-DJA Document 4 Filed 02/26/18 Page 7 of 22



1            (f)    to deprive Plaintiff and other sellers of an opportunity to engage in the business of
2    selling furniture in a free, open and competitive market.
3            28.    In furtherance of the unlawful purposes and objectives, as described above,
4    Defendant CARACOLE engaged in and carried out the following unlawful acts and conduct,
5    inter alia:
6            (a)    Defendant CARACOLE provided favored customers with 40% discounts below
7    MSRP, i.e., reduced rates on their furniture when purchased through e-commerce platforms
8    PERIGOLD and WAYFAIR (i.e. “favored customers”).
9            (b)    Defendant CARACOLE sold furniture directly to customers, bypassing its dealer
10   network, and selling pieces of furniture at prices below its best dealer price, in order to lock in
11   the selected customer with using such ecommerce platforms.
12           (c)    Defendant abused, exercised and misused the exclusive manufacturing power as
13   described above;
14           (d)    Defendant attempted to enlarge and expand its exclusive and monopoly power, as
15   described above, and to acquire, exercise and, and to exclude competition in the relevant markets
16   consisting of the State of Nevada and other States in the United States.
17           (e)    Defendants combined and conspired to and did foreclose and exclude Plaintiff as
18   a competitor, including as a price competitor, by selling directly to customers, and competing
19   directly with Plaintiff as retailer and dealer of Caracole products. Therefore Plaintiff was
20   restrained and excluded from effectively competing in the sale of Caracole products in the
21   relevant market was foreclosed, restrained and excluded.
22           (f)    Defendants deprived Plaintiff and other furniture retailers of an opportunity to
23   engage in the business of selling Caracole products in a a free, open and competitive market,
24   thereby preventing the distribution of furniture into the market place in an efficiently and
25   competitive manner.




                                                      -7-
            Case 2:18-cv-00318-JCM-DJA Document 4 Filed 02/26/18 Page 8 of 22



1    C. EFFECTS ON COMPETITION AND THE MARKET
2           29.     CARACOLE’s abusive exercise of competition with retailers and dealers and
3    misuse of power, have substantially excluded, foreclosed and lessened competition. There is an
4    attendant dangerous probability of success that Plaintiff and other retailers similialy situated, will
5    be excluded as a competitor in the following respects, inter alia:
6           (a)     Defendant’s acts and conduct of selling directly to customers, at substantially
7                   reduced prices has had the effect of restraining and foreclosing Defendant’s
8                   competitiors, from competing and increasing their market shares, and has enabled
9                   Defendant to maintain or increase its share of the market.
10          (b)     Defendant’s acts and conduct of selling directly to customers, as alleged above,
11                  has had the effect of restraining and foreclosing retailers and dealers of Caracole
12                  products, from competing with Defendants for the reason that these retailers and
13                  dealers must purchase Defendant’s furniture at prices which exceed Defendant’s
14                  direct sa le prices to customer’s on WAYFAIR and PERIGOLD platform, and has
15                  had the the additional effect of reducing sales and market shares of retailers and
16                  dealers of Caracole products.
17          (c)     Defendant’s acts of selling directly to customers (“Favored Customers”) at a
18                  significantly reduced prices through WAYFAIR or PERIGOLD, has had the
19                  effect of “Nonfavored Customers” being forced to pay higher prices for Caracole
20                  products at retail locations. As a consequence, competition between ‘favored” and
21                  “Nonfavored ” customers of Caracole products has been reduced and foreclo sed.
22                  This has had the effect of increasing the market share of “favored customers”, and
23                  has prevented “non -favored customers” from competing efficiently with favored
24                  purchasers.
25




                                                      -8-
           Case 2:18-cv-00318-JCM-DJA Document 4 Filed 02/26/18 Page 9 of 22



1           (d)    Competition, including price competition among Defendant CARACOLE and
2                  retaile rs and dealers of Caracole products has been substantially excluded,
3                  foreclosed and lessened;
4           (e)    Retailers and dealers of Caracole products have been denied the benefits of a free,
5                  competitive and open market and choice in the market place among places to
6                  purchase Caracole products has been restrained, foreclosed and eliminated.
7    D.     INJURY TO PLAINTIFF :
8           30.    CARACOLE’s actions, abuse, execise of price fixingand attempt to price fix,
9    have directly and proximately caused inuries to Plaintiff’s business and property, and will
10   continue to cause substantial and immediate injuries to Plaintiff’s business and property in the
11   following respects; inter alia:
12          (a)    Plaintiff has been restrained, foreclosed and excluded as a competitor, including
13   as a price competitor, from the market of selling Caracole products;
14          (b)    Plaintiff has been coerced and required to withdraw from competition and sales of
15   Caracole products;
16          (c)    Plaintiff has been deprived of an opportunity to engage in the business of selling
17   Caracole products in a free, open and competitive market;
18          (d)    Plaintiff has lost business, customers, sales, income and profits;
19          (e)    Plaintiff has suffered injuries to its business, property and business organization
20   built up over many years, involving substantial investment and having substantial value;
21          (f)    Plaintiff has suffered injuries to its standing the market place and business
22   community and to its business reputation.
23          31.    Plaintiff is engaged in the business of purchasing and selling Caracole products in
24   the State of Nevada and Defendants have engaged in price discrimination by placing furniture on
25




                                                    -9-
              Case 2:18-cv-00318-JCM-DJA Document 4 Filed 02/26/18 Page 10 of 22



1    advertising platforms such as Wayfair and Perigold, and selling same at a reduced manufacture
2    price.
3              32.   This type of price predation by Defendants is an attempt to wipe out its smaller
4    competitors by using its deeper pockets to undercut the competitors’ prices, thereby taking away
5    their customers.
6                                                   IV.
7
                                    GENERAL ALLEGATIONS
8

9              32.   Plaintiff incorporates by this reference the allegations contained in all of the

10   preceding paragraphs as if fully set forth herein.

11             33.   CARACOLE manufactures furniture, which are purchased upstream by

12   companies such as FURNITURE ROYAL to sell to the public.

13             34.   CARACOLE also advertises on internet platforms such as Wayfair.com,
14
     Perigold.com. to sell directly to consumers by placing furniture on these advertising platform
15
     sites and is a direct competitor of FURNITURE ROYAL.
16
               35.   CARACOLE uses these internet advertising platforms to sell directly to
17
     consumers in direct competition with dealers and retailers like FURNITURE ROYAL.
18
               36.   CARACOLE undercuts retailers by providing a discount through these online
19
     platform websites (“favored customers”) whereby forcing retailers to discount the product to
20

21
     the conform to the platform sites.

22             37.   In fact, CARACOLE is extending preferential pricing to customers by using the

23   internet platform sites, despite providing manufactures suggested retail prices (MSRP) to

24   retailers selling CARACOLE products.

25




                                                     -10-
           Case 2:18-cv-00318-JCM-DJA Document 4 Filed 02/26/18 Page 11 of 22



1           38.     Contrary to CARACOLE’s assurances that its prices were fixed, CARACOLE
2    was selling directly to consumers at reduced prices by and through online advertising platforms
3
     such as Wayfare.com and Perigold.com.
4
            39.     Not only did CARACOLE mislead FURNITURE ROYAL about its pricing, but
5
     by duping FURNITURE ROYAL into believing that CARACOLE’s prices were fixed,
6
     CARACOLE placed FURNITURE ROYAL at a distinct disadvantage against CARACOLE, by
7
     allowing customers to purchase off the internet platforms at a discount off the MSRP instead of
8
     retailers such as FURNITURE ROYAL.
9

10
            40.     For example, a customer would see CAR ACOLE furniture at FURNITURE

11   ROYAL’s store in Las Vegas, Nevada and would then purchase it online through an internet

12   platform Defendants Wayfair.com and Perigold.com that was discounted by CARACOLE to

13   compete with retailers.

14          41.     Not surprisingly, as a result of the secret price collusion between CARACOLE
15
     and the internet platforms, Wayfair.com and Perigold.com, CARACOLE is not only competing
16
     with Retailers it distributes to but also, is profiting off the ability of customers going to
17
     furniture showrooms and seeing the furniture in person, while purchasing it directly from the
18
     manufacturer online at a discount.
19
            42.     CARACOLE has an insurmountable advantage over FURNITURE ROYAL by
20
     offering special pricing on the furniture since it is being sold directly by the manufacturer on a
21
     internet website platform.
22

23          43.     At the time of entering into the Agreement to sell Caracole furniture,

24   FURNITURE ROYAL had no knowledge that, CARACOLE was using internet websites to

25   advertise and directy sell the same furniture at a discount directy to the consumer.




                                                    -11-
            Case 2:18-cv-00318-JCM-DJA Document 4 Filed 02/26/18 Page 12 of 22



1            44.      FURNITURE ROYAL realized the CARACOLE was offering preferential
2    pricing, using the internet advertising platforms to directly sell to consumers and undercutting
3
     all their retailers.
4
             45.      FURNITURE ROYAL’s suspicion of Defendants’ deception was subsequently
5
     confirmed as products were being sent directly by the manufacturer to the consumers, and not
6
     by the internet websites, used as advertising platforms.
7
                                                        V.
8
                                         FIRST CLAIM FOR RELIEF
9
                            (Price Fixing -Horizontal-Violation of 15 U.S.C.A. § 13 )
10
             46.      Plaintiff incorporates by this reference the allegations contained in all of the
11
     preceding paragraphs as if fully set forth herein.
12
             47.      As noted supra, Defendant CARACOLE engages in and transacts a continuous
13
     course of business within the State of Nevada and is enaged in selling and shipping substantial
14
     quanties of Caracole products in a continuous and uninterrupted flow of interstate commerce to
15

16
     its customers located in other states.

17           48.      Further as noted supra, CARACOLE, discriminated in price as between “favored

18   customers”, purchasing directly from CARACOLE, by and through e-commerce advertising

19   platforms PERIGOLD and WAYFAIR; and “non -favored customers” whom purchased from

20   retailers such as Plaintiff.
21
             49.      That the Caracole products sold to customers directly by Defendant CARACOLE
22
     on the e-commerce advertising platforms PERIGOLD and WAYFAIR was at all times relevant
23
     herein the same grade and quality of the Caracole products sold to Plaintiff;
24
             50.      That the price discrimination had a prohibited effect on competition by Defendant
25
     CARACOLE directly competing with retailers and dealers such as Plaintiff.



                                                      -12-
            Case 2:18-cv-00318-JCM-DJA Document 4 Filed 02/26/18 Page 13 of 22



1                51.    That Plaintiff suffered actual injury to its business or property as a result of the
2    price discrimination in excess if One Million US Dollars, the exact amount which will be shown
3
     at trial.
4

5                                                         VI.

6                                        SECOND CLAIM FOR RELIEF
                                            (Conspiracy- Defendants)
7
                 52.    Plaintiff incorporates by this reference the allegations contained in all of the
8
     preceding paragraphs as if fully set forth herein.
9

10               53.    As described above, Defendants, by concerted action, inten ded to place Plaintiff

11   at a significant disadvantage in the sale of Caracole products by themselves selling Caracole

12   products directly to consumers on e-commerce advertising platforms such that Defendant

13   CARACOLE would undercut Plaintiff’s pricing.

14               54.    As a direct and proximate result of Defendants’ unlawful conspiracy, Plaintiff
15
     has been damaged in excess of One Million United States Dollars, the exact amount to be
16
     proved at trial.
17
                 55.    Plaintiff alleges upon information and belief that Defendants’ actions were done
18
     willfully, with the intent to cause injury to Plaintiff , and in conscious disregard of Plaintiff’s
19
     rights. Defendants, and each of them, are therefore, guilty of malice and oppression, and
20
     Plaintiff is entitled to an award of punitive damages appropriate to punish Defendants, and each
21
     of them, and to deter others from engaging in similar misconduct.
22

23               56.    As a direct and proximate result of the acts and omissions alleged herein, it has

24   become necessary for Plaintiff to retain the services of attorneys to prosecute this Complant,

25   and Plaintiff therefore is entitled to recover its attorneys’ fees and costs incurred herein.




                                                         -13-
           Case 2:18-cv-00318-JCM-DJA Document 4 Filed 02/26/18 Page 14 of 22



1                                                    VII.
2
                                THIRD CLAIM FOR RELIEF
                     (ALL DEFENDANTS Violation of Sherman Act, 15 U.S.C. § 1
3

4           57.      During the period beginning at least as early as 2016 and continuing through at

5    least the present time, each of the defendants and co-conspirators engaged in various

6    combinations and conspiracies with other of the defendants and co -conspirators in unreasonable

7    restraint of interstate trade and commerce in violation of Section 1 of the Sherman Act, 15
8    U.S.C. § 1. The offenses are likely to recur unless the relief hereinafter prayed for is granted
9
            58.      These combinations and conspiracies consisted of agreements, understandings,
10
     and concerted actions to decrease prices on Caracole products and eliminate manufacture
11
     suggested retail price.
12
            59.      For the purpose of forming and effectuating these combinations and conspiracies,
13
     the defendants and co -conspirators, through e-commerce advertising platforms, did the
14
     following things, among others:
15

16
            (a) Discriminated between favored and non favored customers
17
            (b) Conspired and colluded to sell Caracole products from the manufacturer directly to
18
                  the customer, bypassing retailers and dealer pricing;
19
            (c) Excluded competition in the State of Nevada and other states of the United States;
20
            (d) Combined and conspired to and did foreclose and exclude Plaintiff as a competitor,
21
                  including a price competitor, by imposing substantially reduced fixed prices;
22

23          (e) Deprived Plaintiff and other furniture retailers of an opportunity to engage in the

24                business of selling Caracole products in a free, open and competitive market, thereby

25




                                                     -14-
           Case 2:18-cv-00318-JCM-DJA Document 4 Filed 02/26/18 Page 15 of 22



1                 preventing the distribution of Caracole products into the market place in an efficient
2                 and competitive manner.
3

4           60.      These combinations and conspiracies had the effect of price competition among

5    retailers and defendants for sale of Caracole products has been unreasonably restrained; and

6    consumers have been deprived of the benefits of free and open competition in the sale of

7    Caracole furniture and products.
8           61.      As a direct and proximate result of Defendants’ unlawful conspiracy, Plaintiff
9
     has been damaged in excess of One Million US Dollars , an exact amount to be proved at trial.
10
            62.      Plaintiff alleges upon information and belief that Defendants’ actions were done
11
     willfully, with the intent to cause injury to Plaintiff, and in conscious disregard of Plaintiff’s
12
     rights. Defendants, and each of them, are therefore, guilty of malice and oppression, and
13
     Plaintiff is entitled to an award of punitive damages appropriate to punish Defendants, and each
14
     of them, and to deter others from engaging in similar misconduct.
15
                                                      VIII.
16
                                      FOURTH CLAIM FOR RELIEF
17
                                      (Fraudulent Misrepresentation )
18
            63.       Plaintiff incorporates by this reference the allegations contained in all of the
19
     preceding paragraphs as if fully set forth herein.
20
            64.      Defendant falsely represented to Plaintiff that it did not offer any special pricing
21
     on its furniture to consumers or sell to consumers directly. Specifically, Plaintiffs inquirecd
22
     whether there was special pricing and Defendants denied such actions.
23
            65.      Defendants knew or should have known those representations were false.
24

25          66.      Defendants intended to induce Plaintiff into continued sale of Caracole products

     by having a place to showcase Caracole products in a local market.


                                                      -15-
           Case 2:18-cv-00318-JCM-DJA Document 4 Filed 02/26/18 Page 16 of 22



1            67.     Plaintiffs justifiably relied on Defendants’ representations that its prices were
2    fixed, and that Defendants were not undercutting retailers.
3
             68.     As a result of Defendants’s misrepresentations, Plaintiff has suffered financial
4
     damage in an amount to be determined at trial, which amount is in excess of One Million US
5
     Dollars.
6
             69.     Plaintiff alleges upon information and belief that Defendant’s actions were done
7
     willfully, with the intent to cause injury to Plaintiff , and in conscious disregard of Plaintiff’s
8
     rights. Plaintiff is therefore guilty of malice and oppression, and Plaintiff is entitled to an award
9

10
     of punitive damages appropriate to punish Defendants, and to deter others from engaging in

11   similar misconduct.

12           70.     As a direct and proximate result of the acts and omissions alleged herein, it has

13   become necessary for Plaintiff to retain the services of attorneys to prosecute this action, and

14   Plaintiff therefore is entitled to recover its attorneys’ fees and costs incurred herein.
15

16
                                                       IX.

17                                  FIFTH CLAIM FOR RELIEF
          (Violation of 15 U.S.C.A. § 13 (Robinson-Patman Antidiscrimination Act of 1936)
18
             71.     Plaintiff incorporates by this reference the allegations contained in all of the
19
     preceding paragraphs as if fully set forth herein.
20
             72.     As alleged herein, Defendants’s offering of special pricing to consumers, while
21
     declining to extend that special pricing to Plaintiff, in the sale of direct to the consumers of
22

23   furniture like grade and quality, constitutes a violation of Section 2(a) of the Clayton Act, as

24   amended by the Robinson -Patman Antidiscrimination Act of 1936, 15 U.S.C.A. § 13(a).

25




                                                      -16-
           Case 2:18-cv-00318-JCM-DJA Document 4 Filed 02/26/18 Page 17 of 22



1           73.     The price discrimination implemented by Defendants gave Defendants a distinct
2    advantage against Plaintiffs in the sale process for each of the furniture sold by CARACOLE.
3
            74.     As a direct and proximate result of Defendants’ price fixing, Plaintiff has been
4
     damaged in an exact amount to be proved at trial, which amount is in excess of One Million US
5
     Dollars.
6
            75.     As a direct and proximate result of the acts and omissions alleged herein, it has
7
     become necessary for Plaintiff to retain the services of attorneys to prosecute this action, and
8
     Plaintiff therefore is entitled to recover its attorneys’ fees and costs incurred herein.
9

10
                                                       X.
11
                                    SIXTH CLAIM FOR RELIEF
12                 (Violation of Nevada Unfair Trade Practices Act (NRS 598A.060)

13          76.     Plaintiff incorporates by reference the allegations contained in all of the

14   preceding paragraphs as if fully set forth herein.
15
            77.     The acts, as described herein, demonstrate that Defendants’s repeated sale of
16
     furniture to “ favored customers” at a lower price than that offerable by Plaintiffs and all other
17
     retailers or dealers constitutes unlawful price fixing under NRS 598.060, particularly given
18
     Defendants’ remain the manufacturer for each of the products.
19
            78.     Defendants’s surreptitious offering of lower prices to “favored customer” while
20
     falsely assuring Plaintiff and other retailers and dealers, that Defendants offered the same fixed
21
     price for all customers constitutes a wrongful restraint of trade.
22

23          79.     As a direct and proximate result of Defendants’ restraint of trade, Plaintiff has

24   been damaged in excess of One Million US Dollars. in an exact amount to be proved at trial.

25




                                                      -17-
           Case 2:18-cv-00318-JCM-DJA Document 4 Filed 02/26/18 Page 18 of 22



1           80.     As a direct and proximate result of the acts and omissions alleged herein,
2    Plaintiff is entitled an award in the amount of the maximum amount of civil penalties allowed
3
     by NRS 598A.210.
4
            81.     As a direct and proximate result of the acts and omissions alleged herein, it has
5
     become necessary for Plaintiff to retain the services of attorneys to prosecute this Co mplaint,
6
     and Plaintiff therefore is entitled to recover its attorneys’ fees and costs incurred herein.
7

8                                                         XI.
9
                                       SEVENTH CLAIM FOR RELIEF
10                (Intentional Interference with Prospective Economic/Business Advantage –
                                              Defendants)
11
            82.     Plaintiff incorporates by this reference the allegations contained in all of the
12
     preceding paragraphs as if fully set forth herein.
13
            83.     During the relevant time periods, Plaintiff had prospective contractual relations
14
     with customers that Defendants would designate as “Non -favored” customers for the purchase
15

16
     of Caracole furniture products.

17          84.     Defendants knew Plaintiff was marketing and selling Caracole furniture

18   products to third party customers.

19          85.     Defendants knew that, by duping Plaintiffs into believing that Caracole’s

20   furniture pricing was the same for Plaintiffs and customers; Plaintiff would be at a significant
21
     disadvantage vis-à -vis customers buying directly from e-commerce advertising platforms.
22
            86.     Defendant is liable to Plaintiff for intentionally interfering with Plaintiff’s
23
     prospective contractual relations with the customers by, among other things, misrepresenting to
24
     Plaintiffs that Defendants’s pricing was fixed and that it would not offer special pricing to any
25
     of its customers, including Plaintiff and its direct competitors.



                                                     -18-
           Case 2:18-cv-00318-JCM-DJA Document 4 Filed 02/26/18 Page 19 of 22



1           87.     In fact, Defendants secretly provided customers who purchased directly from
2    CARACOLE through an e-commerce advertising platform with lower pricing, which allowed
3
     customers to bypass Plaintiff and retailers like Plaintiff to purchase Caracole products at a
4
     substantially reduced price.
5
            88.     Not surprisingly, customers utilize the e-commerce advertising sites to purchase
6
     Caracole products online at substantially reduced rates, up to 40 % off the MSRP.
7
            89.     By virtue of Defendants’s position as supplier and manufacaturer to Plaintiffs
8
     and Defendant’s position as a direct competitor to Plaintiff, Defendants knew of Plaintiff’s
9

10
     prospective contractual relations with customers of Caracole products and the importance of

11   selling to said customers.

12          90.     Defendants were not privileged or justified in covering up their price fixing

13   conspiracy that placed Plaintiff at a competitive disadvantage in the sales processes in order to

14   promote their own financial gain to the detriment of Plaintiff’s prospective economic relations.
15
            91.     As a result of Defendants’ misconduct, actual disruption and harm to Plaintiff’s
16
     prospective contracts with customers occured.
17
            92.     As a direct result of Defendants’ misconduct and the disruption and harm that
18
     occurred, Plaintiff has suffered financial damage in an amount to be determined at trial, which
19
     amount is in excess of One Million US Dollars.
20
            93.     Plaintiff alleges upon information and belief that the actions of Defendants were
21
     done willfully, with the intent to cause injury to Plaintiff, and in conscious disregard of
22

23   Plaintiff’s rights. Defendants, and each of them, are therefore, guilty of malice and oppression,

24   and Plaintiff is entitled to an award of punitive damages appropriate to punish Defendants, and

25   each of them, and to deter others from engaging in similar misconduct.




                                                   -19-
           Case 2:18-cv-00318-JCM-DJA Document 4 Filed 02/26/18 Page 20 of 22



1           94.     As a direct and proximate result of the acts and omissions alleged herein, it has
2    become necessary for Plaintiff to retain the services of attorneys to prosecute this action, and
3
     Plaintiff therefore is entitled to recover its attorneys’ fees and costs incurred herein.
4

5                                                         XII.

6                                         EIGHTH CLAIM FOR RELIEF
                                          (Breach of Contract – Caracole)
7
            95.     Plaintiff incorporates by this reference the allegations contained in all of the
8
     preceding paragraphs as if fully set forth herein.
9

10          96.     The Parties entered into an authorized dealer agreement.

11          97.     Defendant represented and promised to Plaintiff not to compete against Plaintiff

12   with respect to Caracole furniture sold by Plaintiff. This representation and promise became

13   part of the parties’ course of dealing and agreement, and was observed by Defendant, to the

14   best of Plaintiff’s knowledge until 2016.
15
            98.     Defendant made the above mentioned representations for its own benefit to
16
     assure Plaintiff’s loyalty as well as to induce Plaintiff’s best and extra efforts in performance of
17
     the parties’ agreement.
18
            99.     Plaintiff’s belief upon the above mentioned representations is reflected by the
19
     amount of time and expense Plaintiff incurred in selling Caracole products at their retail store.
20
            100.    Plaintiff has complied with all the terms and onligations under the parties entire
21
     contract and agreement, course of dealing, industry practices , the parties understandings, and
22

23   Defendant’s representations and promises.

24

25




                                                      -20-
           Case 2:18-cv-00318-JCM-DJA Document 4 Filed 02/26/18 Page 21 of 22



1            101.    Plaintiff has been damaged by Defendant’s breach of entire contract and
2    agreement. Such damages include loss of profits, excessive inventory cost, loss of revenue,
3
     deterioration of its business enterprise, and other incidental and consequential damages.
4

5            WHEREFORE, Plaintiff prays for judgment against Defendants, and each of them,

6    jointly and severally, as follows:

7
             1.      Adjudge and decree that Defendant CARACOLE has breached its agreements and
8
     contract with Plaintiff
9

10           2.      Adjudge and decree that Defendant CARACOLE individually and together with

11   Defendants Perigold and Wayfar, acting in combination and conspiracy, has violated Section 1

12   of the Sherman Act, 15 USC §1.

13           3.      For an award of damages in an amount in excess of $10,000.00, the exact amount

14   to be proven at trial;
15
             4.      Issue a permanent order, restraining and enjoining Defendants CARACOLE,
16
     WAYFAIR and PERIGOLD its agents and employees, and all persons active in concert or
17
     participation who receive actual notice of the injunction and order by personal service or
18
     otherwise, from continuing the unlawful acts and conduct,as described above.
19
             5.      For an award in the maximum amount as allowed in NRS 598A.210;
20
             6.      For an award of punitive damages, in an amount to be proven at trial;
21
             7.      For an award of pre-judgment and post-judgment interest on the amounts found
22

23   owing to Plaintiff, from the date such amount became due, at the highest rate allowed by law, as

24   applicable;

25           8.      For an award of attorneys’ fees pursuant to contract or law, as applicable;




                                                    -21-
     Case 2:18-cv-00318-JCM-DJA Document 4 Filed 02/26/18 Page 22 of 22



1     9.     For an award of costs, including without limitation expert witness fees; and
2     10.    For such other and further relief as to the Court deems just and proper.
3

4     Dated this __20th__ day of February, 2018.

5
                                                          CHATTAH LAW GROUP
6
                                                          /s/
7                                                          SIGAL CHATTAH, ESQ.
                                                           NV Bar No.: 8264
8                                                          CHATTAH LAW GROUP
                                                           5875 S. Rainbow Blvd. #204
9                                                          Las Vegas, Nevada 89101
                                                           Chattahlaw@gmail.com
10                                                         (702) 360-6200
                                                           (702) 643-6292
11                                                         Attorney for Plaintiff

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                                            -22-
